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                                Exhibit A

  Plaintiff Essociate, Inc.’s Proposed Constructions and
           Identification of Evidence in Support
                   Patent L.R. 4-3(a), (b)
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      U.S. Patent No. 6,804,660            Plaintiff’s Preliminary Claim Construction and
             claim term                                   Evidence in Support

  existing target affiliate            Proposed Construction:
  system/target Merchant affiliate     A system, operated directly or indirectly by a merchant, in
  system                               which a group of webmasters direct traffic to a merchant

                                       Intrinsic Evidence:
                                       ’660 Patent 2:8-17; 2:32-34; 3:17-42; 7:14-34; 7:41-43

                                       Extrinsic Evidence:
                                       Merriam-Webster Dictionary (target: “a goal to be
                                       achieved”)

  source Webmaster unique identifier   Proposed Construction:
                                       A unique identifying code assigned to a webmaster within
                                       an affiliate pool of source webmasters

                                       Intrinsic Evidence:
                                       ’660 Patent 7:64-8:3; 9:34-35; 10:4-9

                                       Extrinsic Evidence:
                                       Merriam-Webster Dictionary (unique: “being the only one;
                                       distinctively characteristic”)

                                       Corresponding 35 U.S.C. § 112(6) structure:
                                       ’660 Patent 9:31-39




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     PL. ESSOCIATE, INC.’S PROPOSED CLAIM CONSTRUCTIONS AND EVIDENCE IN SUPPORT
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      U.S. Patent No. 6,804,660         Plaintiff’s Preliminary Claim Construction and
             claim term                                Evidence in Support

  correlating                       Proposed Construction:
                                    Creating or recognizing a relationship between

                                    Intrinsic Evidence:
                                    ’660 Patent 10:51-59; 10:63-67; 11:1-25

                                    Corresponding 35 U.S.C. § 112(6) structure:
                                    ’660 Patent 11:1-25


                                    Extrinsic Evidence:
                                    Merriam-Webster Dictionary (correlate: “to establish a
                                    mutual or reciprocal relation between; to show correlation
                                    or a causal relationship between; to present or set forth so
                                    as to show relationship”)


  generating a URL                  Proposed Construction:
                                    Causing a URL to appear in a user’s web browser without
                                    a further user request

                                    Intrinsic Evidence:
                                    ’660 Patent 4:12-16; 8:11-14; 8:65-67; 11:38-42; 15:29-41;
                                    Fig. 5

                                    Corresponding 35 U.S.C. § 112(6) structure:
                                    ’660 Patent 4:12-16




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     PL. ESSOCIATE, INC.’S PROPOSED CLAIM CONSTRUCTIONS AND EVIDENCE IN SUPPORT
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      U.S. Patent No. 6,804,660            Plaintiff’s Preliminary Claim Construction and
             claim term                                   Evidence in Support

  target Webmaster unique identifier   Proposed Construction:
                                       A unique identifying code assigned to each source
                                       Webmaster in the source affiliate pool that is functional
                                       within the target Merchant’s home affiliate system

                                       Intrinsic Evidence:
                                       ’660 Patent 4:6-11; 8:6-10; 10:66-67; 11:1-20

                                       Extrinsic Evidence:
                                       Merriam-Webster Dictionary (unique: “being the only one;
                                       distinctively characteristic”)

  correlated target Webmaster unique   Proposed Construction:
  identifier                           A unique identifying code assigned to each source
                                       Webmaster in the source affiliate pool that is functional
                                       within the target Merchant’s home Affiliate System for
                                       which a relationship has been created or recognized with a
                                       source webmaster identifying code

                                       Intrinsic Evidence:
                                       ’660 Patent 4:6-11; 8:6-10; 10:51-59; 10:63-67; 11:1-25;
                                       14:66-15:3

                                       Extrinsic Evidence:
                                       Merriam-Webster Dictionary (correlate: “to establish a
                                       mutual or reciprocal relation between; to show correlation
                                       or a causal relationship between; to present or set forth so
                                       as to show relationship”; unique: “being the only one;
                                       distinctively characteristic”)




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     PL. ESSOCIATE, INC.’S PROPOSED CLAIM CONSTRUCTIONS AND EVIDENCE IN SUPPORT
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      U.S. Patent No. 6,804,660          Plaintiff’s Preliminary Claim Construction and
             claim term                                 Evidence in Support

  configuring an existing target     Proposed Construction:
  affiliate system                   A data setup operation relating to a system, operated
                                     directly or indirectly by a merchant, in which a group of
                                     webmasters direct traffic to a merchant

                                     Intrinsic Evidence:
                                     ’660 Patent 7:23-25; 7:41-59; 8:32-67; 9:31-43

                                     Corresponding 35 U.S.C. § 112(6) structure:
                                     ’660 Patent 8:32-67

  unique identification system       Proposed Construction:
                                     A system for using unique identification information to
                                     identify at least one webmaster in an affiliate system

                                     Intrinsic Evidence:
                                     ’660 Patent 4:1-11; 8:4-9; 8:55-57; 9:34-39; 10:4-11;
                                     10:20-25; 11:15-21; 14:41-49; 16:65-17:1

                                     Extrinsic Evidence:
                                     Merriam-Webster Dictionary (unique: “being the only one;
                                     distinctively characteristic”; system: “a regularly
                                     interacting or interdependent group of items forming a
                                     unified whole”)




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     PL. ESSOCIATE, INC.’S PROPOSED CLAIM CONSTRUCTIONS AND EVIDENCE IN SUPPORT
